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                             IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF ARKANSAS
                                     TEXARKANA DIVISION

FOREMAN ELECTRIC
SERVICES, INC.                                                                         PLAINTIFF


vs.                                   Civil No. 4:19-cv-04157


HALIRON POWER, INC.                                                                 DEFENDANT


                                                  ORDER

       Before the Court is Plaintiff’s Motion to Compel Discovery from Defendants. ECF No.

61. Plaintiff filed this Motion on September 10, 2020. Id. On September 24, 2020, Defendant

responded. ECF No. 67. On October 1, 2020, Plaintiff filed a Reply. ECF No. 71. Pursuant to

the provisions of 28 U.S.C. § 636(b)(1) and (3) (2009), the Honorable Susan O. Hickey referred

this Motion to this Court. After considering this Motion and the response, the Court finds it should

be GRANTED IN PART and DENIED IN PART.

       With this Motion to Compel, Plaintiff seeks to compel responses to two interrogatories and

seeks to strike burdensome and relevance objections filed by Defendant as improper and

“boilerplate” objections. ECF No. 61. Defendant argues they have fully complied with the

disputed discovery requests and all objections are proper. ECF No. 67.

       1. Interrogatory #11

       According to Plaintiff, Interrogatory 11 asked Defendant to provide an accounting of all

funds (including without limitation money, cryptocurrency, and any other liquid assets) Defendant

has received from, or on behalf of, Fluor Daniel Caribbean, Inc. (“FDCI”) or any of FDCI’s

parents, subsidiaries, affiliates, or sureties from September 1, 2017 to the present. Defendant states
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it will have complied with this interrogatory by providing bank statements for the time period,

once the Agreed Protective Order is entered.

       However, Plaintiff argues that in a related lawsuit in South Carolina, Defendant alleged it

had received $7,983,160.94 from FDCI, but that the bank statements in question only show

deposits totaling $7,007,599.72. Defendant claims the nearly $1 million difference is explained

by FDCI withholding money for taxes.

       Defendant shall fully answer Interrogatory 11 by providing the bank statements in question

upon the entry of the Agreed Protective Order, along with an amended response setting forth the

explanation for the nearly $1 million difference in deposits.

       2. Interrogatory #12

       According to Plaintiff Interrogatory 12 asks Defendant to describe what it did with project

funds that were identified in Interrogatory 11. In their response to Interrogatory 12, Defendant

objected because it was overly broad, unduly burdensome, and seeks information that is irrelevant

and otherwise exceeds the scope of permissible discovery under FED. R. CIV. P. 26(b)(1). ECF

No. 61-2, pg. 10. Defendant further answered by stating it reserves the right to supplement this

Interrogatory with additional documents determined through further investigation and/or

discovery. Id. In its Response, Defendant states the bank statements to be provided in response

to Interrogatory 11 will answer this Interrogatory.

        As stated above, Defendant shall fully answer Interrogatory 12 by providing the bank

statements in question upon the entry of the Agreed Protective Order.

       3. “Boilerplate” Objections

       Finally, Plaintiff states Defendant’s amended responses fail to state burdensome and

relevance objections with particularity as required by Local Rule 33.1(b) and Defendant must be
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compelled to withdraw these improper objections, or restate them with particularity. ECF No. 61.

Plaintiff also states it is unable to determine whether Defendant is using them as a basis to withhold

documents. Id.

       Pursuant to Local Rule 33.1(b), the ground or grounds for an objection must be stated with

particularity and it is not sufficient to state the interrogatory or request is burdensome, improper,

or not relevant. The Court finds the objections set forth by Defendant are not improper or in

violation of Local Rule 33.1.

       Based on the forgoing, Plaintiff’s Motion to Compel (ECF No. 61) is GRANTED IN

PART and Defendant shall provide Plaintiff the bank statements in question upon the entry of the

Agreed Protective Order. Plaintiff’s Motion is DENIED as to the claim of Defendant’s improper

objections.


       IT IS SO ORDERED this 30th day of October 2020.

                                                      /s/ Barry A. Bryant
                                                      HON. BARRY A. BRYANT
                                                      UNITED STATES MAGISTRATE JUDGE




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